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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

 RICHARD FERREIRA
      Plaintiff,

 v.                                                             C.A. No. 1:19-cv-00200-JJM-PAS

 TOWN OF LINCOLN, LINCOLN POLICE
 DEPARTMENT, CHIEF OF POLICE,
 CAPTAIN PHILIP GOULD, DETECTIVE
 LIEUTENANT DANA L. PACKER
 DETECTIVE CHRIS NIGHTINGALE
 DETECTIVE GORMAN, SERGEANT
 JASON BOLDUC, SERGEANT WALTER M.
 PTASZEK, LPD OFFICER STEPHEN
 RODRIGUES, LPD OFFICER JOSEPH ANTERNI,
 LPD OFFICER LEGARE, LPD OFFICER
 KINNIBURGH, LPD OFFICER SEXTON, THE
 RHODE ISLAND STATE POLICE, JAMES
 MANNI, SUPERINTENDENT, (RISP
 DEFENDANTS UNKNOWN),
 JOHN DOES 1-5
      Defendants.

                 LINCOLN DEFENDANTS’ OBJECTION TO PLAINTIFF’S
                    MOTION FOR PARTIAL SUMMARY JUDGMENT

        Plaintiff Richard Ferreira (“Plaintiff”) has submitted a filing entitled “Plaintiff’s Motion

 for Court Ordered Return of $25,997.39 seized from the Plaintiff, or in the Alternative, Plaintiff’s

 Motion for Partial Summary Judgment Ordering the Return of the Sum of $25,997.39 to the

 Plaintiff.” See generally Plaintiff’s Motion for Partial Summary Judgment, Docket at #38. In this

 filing, Plaintiff asks the Court to order the return of $25,997.39 purportedly seized by the Rhode

 Island State Police (“State Police”) in connection with an incident that occurred in Lincoln, Rhode

 Island on April 29, 2016. See generally id. Plaintiff also attaches an affidavit detailing the incident

 and the purported seizure of funds allegedly resulting therefrom.           See generally Plaintiff’s
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 Affidavit in Support of Motion for Alternative Dispute Resolution Plan and Motion for Partial

 Summary Judgment, Docket at #41.

        The Lincoln Defendants submit that Plaintiff’s motion and accompanying affidavit appear

 to address only actions purportedly taken by the Rhode Island State Police. Plaintiff does not

 allege in either filing that the Lincoln Defendants seized the sum of money to which he refers. It

 appears, therefore, that Plaintiff’s motion is addressed to the State Defendants, and is not intended

 as against the Lincoln Defendants.

        However, insofar as Plaintiff intends by this motion to seek judgment against the Lincoln

 Defendants, then the said Lincoln Defendants object to same.




                                               Defendants,
                                               By their Attorneys,

                                               /s/ Marc DeSisto

                                               /s/ Patrick K. Burns
                                               Marc DeSisto, Esq. (#2757)
                                               Patrick K. Burns, Esq. (#10107)
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                                 CERTIFICATION OF SERVICE

       I hereby certify, that on this 14th day of April, 2020, I electronically filed and served this
 document through the electronic filing system upon the following:

        Chrisanne Wyrzykowski (#7565)                 Justin J. Sullivan (#9770)
        cwyrzykowski@riag.ri.gov                      jjsullivan@riag.ri.gov

        I further certify that a true and accurate copy of the within was mailed, postage pre-paid,
       th
 this 14 day of April, 2020, to:

        Richard Ferreira, Pro Se
        PO Box 8000
        Shirley, MA 01464

                                               /s/ Marc DeSisto




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